Fill in this information to identify the case:
Debtor name             Three Aminos, LLC

United States Bankruptcy Court for the:                        MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                3:23-bk-02202
                                                                                                                                                                                   □   Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

i@IM Summary of Assets
1.     Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

      1a. Real property:
          Copy line 88 from Schedule AIB.............................................................................................................................                      $                     0.00

       1 b. Total personal property:
            Copy line 91A from Schedule A/8.........................................................................................................................                       $         1,834,255.23

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $         1,834,255.23


•RffltW Summary of Liabilities

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $                     0.00


3.     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule EIF..........................................................................                                       $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule EIF................................................                                            +$            6,040,539.13
                                                                                                                                                                                               -------
                                                                                                                                                                                                     -



4.     Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                                          6,040,539.13
                                                                                                                                                                                       -       - - - - -
                                                                                                                                                                                                       -




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
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             Case 3:23-bk-02202                                   Doc 13              Filed 06/30/23 Entered 06/30/23 13:56:51                                                             Desc Main
                                                                                     Document      Page 1 of 15
 Fill in this information to identify the case:
Debtor name           Three Aminos, LLC

 United States Bankruptcy Court for the:           MIDDLE DISTRICT OF TENNESSEE

 Case number (if known) _3_ :_2 _3-_b_k _-0_ 2_2_0 _2_______
                                                                                                                                   D      Check if this is an
                                                                                                                                          amended filing



Official Form 206A/B
Schedule A/8: Assets - Real and Personal Property                                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the

liilllllll
 debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
              Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      [J No. Go to Part 2.
      IV] Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                      Current value of
                                                                                                                                          debtor's interest

 3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
             Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                               number

              3 .1.   PNC Bank                                                 Checking                        0614                                    $31,954.23



 4.         Other cash equivalents (Identify all)

 5.          Total of Part 1.                                                                                                                      $31,954.23
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

- Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      IV] No. Go to Part 3 .
      [J Yes Fill in the information below.


IZill!II Accounts receivable
10. Does the debtor have any accounts receivable?

      0 No.   Go to Part 4.
      [VJ Yes Fill in the information below.

 11.         Accounts receivable
             11a. 90 days old or less:                              2,301.00                                    0.00                                    $2,301.00
                                             face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                         Schedule A/B Assets - Real and Personal P roperty                                                  page 1
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                                  Best Case Bankruptcy

             Case 3:23-bk-02202                      Doc 13          Filed 06/30/23 Entered 06/30/23 13:56:51                              Desc Main
                                                                    Document      Page 2 of 15
                                                                                                                           3:23-bk-02202
Debtor          Three Aminos LLC                                                               Case number (If known) _____________
                Name


           11b. Over 90 days old:                                      0.00                                   0.00 =....                              $0.00
                                              face amount                        doubtful or uncollectible accounts



12.        Total of Part 3.                                                                                                                $2,301.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

- Investments
13. Does the debtor own any investments?

   [l No. Go to Part 5.
   W] Yes Fill in the information below.

                                                                                                        Valuation method used      Current value of
                                                                                                        for current value          debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

           15.1.     Innate FFAAP Medicine LLC                                     50             %     N/A                                     Unknown



                     Stress Watchers Oxidative Stress Test
           15.2.     Methods LLC                                                   50             %     N/A                                     Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

17.        Total of Part 4.                                                                                                                      $0.00
           Add lines 14 through 16. Copy the total to line 83.

IZlilJIIII Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

   [l No. Go to Part 6.
   IV] Yes Fill in the information below.

           General description                        Date of the last        Net book value of         Valuation method used      Current value of
                                                      physical inventory      debtor's interest         for current value          debtor's interest
                                                                              (Where available)

 19.       Raw materials
           IF200 Powder (Bulk)                        2022                           $100,000.00        Cost                                 $100,000.00


           Approx. 155,000 Units
           IF200                                      06/2023                      $1,700,000.00        Cost                               $1,700,000.00



 20.       Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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           Case 3:23-bk-02202                         Doc 13          Filed 06/30/23 Entered 06/30/23 13:56:51                     Desc Main
                                                                     Document      Page 3 of 15
Debtor         Three Aminos LLC
                                                                                                                     3:23-bk-02202
                                                                                             Case number (If known) _____________
                Name


23.        Total of Part 5.                                                                                                     $1,800,000.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
           QNo
           W] Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           Wl No
           D Yes. Book value              _____ __ Valuation method                  ______ _ Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
           R] No
           []Yes

             Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   Wl No.    Go to Part 7.
   0 Yes Fill in the information below.
l2lillll Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   17 No. Go to Part 8.
   R] Yes Fill in the information below.

           General description                                               Net book value of       Valuation method used   Current value of
                                                                             debtor's interest       for current value       debtor's interest
                                                                             (Where available)

39.        Office furniture
           Used Desk                                                                       $0.00                                                $0.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers in 2020 and 2021                                                      $0.00     Depreciated Cost                     $5,000.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $5,000.00
           Add lines 39 through 42. Copy the total to line 86.                                                                                        1

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
           ONo
           Ii] Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           [V] No
           []Yes

lliliJIII Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   0 No.  Go to Part 9.
   W] Yes Fill in the information below.

Official Form 206A/B                                         Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2021 Best Case, LLC -www.bestcase.com                                                                    Best Case Bankruptcy
           Case 3:23-bk-02202                       Doc 13           Filed 06/30/23 Entered 06/30/23 13:56:51                Desc Main
                                                                    Document      Page 4 of 15
 Debtor         Three Aminos LLC                                                                                      3:23-bk-02202
                                                                                              Case number (If known) _____________  _
                Name

            General description                                               Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories

           49.1.    ------------------
                     N/A                                                                    $0.00                                              $0.00



 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Plate Reader - Lab                                                               $0.00    Depreciated Cost                          $0.00




51.        Total of Part 8.                                                                                                                $0.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
           nNo
           Wl Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
           Wl No
           OYes

li1mllll Real property
54. Does the debtor own or lease any real property?

   [VJ No. Go to Part 10.
   D   Yes Fill in the information below.


9ii@IJ•M    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   D No.  Go to Part 11.
   W] Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

60.         Patents, copyrights, trademarks, and trade secrets
            IF200.com www.1F200.com                                                     Unknown      N/A                                 Unknown


61.        Internet domain names and websites
           IF200.com www.lF200.com                                                      Unknown      N/A                                 Unknown


62.         Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

Official Form 206A/B                                          Schedule A/8 Assets - Real and Personal Property                                page 4
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           Case 3:23-bk-02202                        Doc 13           Filed 06/30/23 Entered 06/30/23 13:56:51               Desc Main
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 Debtor         Three Aminos LLC                                                              Case number        (If known)    3:23-bk-02202
                                                                                                                              ____________   _
                 Name

 65.         Goodwill

 66.         Total of Part 10.                                                                                                                    $0.00
             Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            R]No
            D  Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            R]No
            [7 Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            R]No
            [l Yes

•GfhM       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.

   [7 No. Go to Part 12.
   R] Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obliger)

 72.         Tax refunds and unused net operating losses (NOLs)
             Description (for example, federal, state, local)

 73.         Interests in insurance policies or annuities

 74.         Causes of action against third parties (whether or not a lawsuit
             has been filed)

             Counterclaim against Prolmmune & Dr. Crum                                                                                         Unknown
             Nature of claim
             Amount requested
                                              --�-----------
                                    Fraud, etc.
                                                Unspecified


 75.         Other contingent and unliquidated claims or causes of action of
             every nature, including counterclaims of the debtor and rights to
             set off claims

 76.        Trusts, equitable or future interests in property

 77.         Other property of any kind not already listed Examples: Season tickets,
             country club membership


 78.         Total of Part 11.                                                                                                                    $0.00
             Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            R]No
            D Yes




Official Form 206A/B                                         Schedule A/B Assets - Real and Personal Property                                       page 5
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            Case 3:23-bk-02202                       Doc 13          Filed 06/30/23 Entered 06/30/23 13:56:51                      Desc Main
                                                                    Document      Page 6 of 15
Debtor          Three Aminos LLC                                                                                    Case number        (If known)    3:23-bk-02202
                                                                                                                                                    ____________   _
                Name


•@lf'M Summary
In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                      Current value of real
                                                                                                    personal property                     property

80. Cash, cash equivalents, and financial assets.
       Copy line 5, Part 1                                                                                         $31,954.23

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $2,301.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,800,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
       Copy line 43, Part 7.                                                                                         $5,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                    Unspecified

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,839,255.23            I + 91b.                      $0.00


92. Total of all property on Schedule AIB. Add lines 91 a+91 b=92                                                                                                 $1,839,255.23




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 6
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           Case 3:23-bk-02202                           Doc 13            Filed 06/30/23 Entered 06/30/23 13:56:51                                          Desc Main
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Fill in this information to identify the case:
Debtor name         Three Aminos, LLC

United States Bankruptcy Court for the:             MIDDLE DISTRICT OF TENNESSEE

Case number (if known)           3:23-bk-02202
                                                                                                                                       D Check if this is an
                                                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
     ■ No. Check this box and submit page 1             of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     D Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy

           Case 3:23-bk-02202                        Doc 13           Filed 06/30/23 Entered 06/30/23 13:56:51                              Desc Main
                                                                     Document      Page 8 of 15
 Fill in this information to identify the case:
 Debtor name        Three Aminos, LLC

 United States Bankruptcy Court for the:           MIDDLE DISTRICT OF TENNESSEE

 Case number (if known)         3:23-bk-02202
                                                                                                                                                    D Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

i:ZffilM List All Creditors with PRIORITY Unsecured Claims
     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         ■ No. Go to Part 2.
         D Yes. Go to line 2.


1:ZffifM    List All Creditors with NON PRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                            Amount of claim

          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim Is;   Check all that apply.                    Unknown
          Albert Crum                                                        ■ Contingent
          64 East Market St.
          Rhinebeck, NY 12572                                                ■   Unliquidated

          Date(s) debt was incurred_
                                                                             ■ Disputed
                                                                                                    Fraud, etc.
                                                                                                                     ■
          Last 4 digits of account number_                                  Basis for the claim:

                                                                            Is the claim subject to offset? D No         Yes

� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is:   Check all that apply.                 $281,608.03
          Amarex                                                             D Contingent
          Det. Lockbox #771390                                              D Unliquidated
          P.O. Box 77000                                                    D Disputed
          Detroit, Ml 48277
                                                                            Basis for the claim:   Trade Debt
          Date(s) debt was incurred_
          Last 4 digits of account number_                                  Is the claim subject to offset?   ■ No   D Yes

          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is;   Check all that apply.                  $94,029.50
          Covington & Burling LLP                                           D Contingent
          One City Center                                                   D Unliquidated
          850 Tenth St., NW                                                 D Disputed
          Washington, DC 20001
                                                                            Basis for the claim:   Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number_                                  Is the claim subject to offset?   ■ No   D Yes

          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:   Check all that apply.                 $113,504.05
          Davis Pickren Seydel & Sneed                                      D Contingent
          285 Peachtree Center Ave., NE                                     D Unliquidated
          Atlanta, GA 30303                                                 D Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:   Professional Services
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?   ■ No   D Yes




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 3
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           Case 3:23-bk-02202                        Doc 13          Filed 06/30/23 Entered 06/30/23 13:56:51                                           Desc Main
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Debtor       Three Aminos, LLC                                                                       Case number (if known)              3:23-bk-02202
             Name
          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $508,054.17
         Island Compounding Pharmacy                                        D Contingent
         24201 Meridian Blvd.                                               D Unliquidated
         Grosse lie, Ml 48138                                               D Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?   ■ No D Yes
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.           $454,946.19
         Jeffrey Benore                                                     D Contingent
         2811 E. Erie Rd.                                                   0 Unliquidated
         Erie, Ml 48133                                                     D Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?   ■ No D Yes
          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $3,897,089.99
          Jim Tafel Jr.                                                     0 Contingent
          1215 Troon Ct.                                                    D Unliquidated
          Alpharetta, GA 30005                                              D Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:    Loan
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?   ■ No D Yes
          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $627,558.04
          Polsinelli                                                        D Contingent
          1401 Eye St., NW                                                  D Unliquidated
          Ste. 800                                                          D Disputed
          Washington, DC 20005
                                                                            Basis for the claim:    Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number_                                  Is the claim subject to offset?   ■ No    O Yes

          Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $18,090.00
          Precision Effect                                                  0 Contingent
          133 Federal Street                                                D Unliquidated
          FL. 10                                                            D Disputed
          Boston, MA 02110
                                                                            Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number_                                  Is the claim subject to offset?   ■ No D Yes
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.             $11,118.75
          Resolve Mediation Services, Inc.                                  0 Contingent
          1211 Avenue of the Americas                                       0 Unliquidated
          40th Floor                                                        D Disputed
          New York, NY 10036-8704
                                                                            Basis for the claim:    Professional Services
          Date(s) debt was incurred
          Last 4 digits of account number_                                  Is the claim subject to offset?   ■ No D Yes
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.               $1,732.50
          Saminchem, Inc.                                                   0 Contingent
          3225 Grapevine St.                                                D Unliquidated
          Mira Loma, CA 91709                                               0 Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:    Trade Debt
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?   ■ No D Yes




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 3
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           Case 3:23-bk-02202                        Doc 13          Filed 06/30/23 Entered 06/30/23 13:56:51                                     Desc Main
                                                                    Document     Page 10 of 15
Debtor       Three Aminos, LLC                                                                       Case number (if known)               3:23-bk-02202
             Name
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                    $21,880.91
          Sovereign Pharmaceutical                                          D Contingent
          7590 Sand Street                                                  D Unliquidated
          Fort Worth, TX 76118                                              D Disputed
          Date(s) debt was incurred_
                                                                            Basis for the claim:    Trade Debt
          Last 4 digits of account number_
                                                                            Is the claim subject to offset?    ■ No     D Yes
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                    $10,927.00
          Studio Charle                                                     D Contingent
          6105 Blue Stone Road                                              D Unliquidated
          Ste. 303                                                          D Disputed
          Atlanta, GA 30328
                                                                            Basis for the claim:    Trade Debt
          Date(s) debt was Incurred_
          Last 4 digits of account number_                                  Is the claim subject to offset?    ■ No     D Yes
� Nonpriority creditor's name and mailing address                           As of the petition filing date, the claim is: Check all that apply.                      Unknown
          The Proimmune Company                                             ■ Contingent
          64 East Market St.
          Rhinebeck, NY 12572                                               ■ Unliquidated
          Date(s) debt was Incurred_
                                                                            ■ Disputed
          Last 4 digits of account number_                                  Basis for the claim:    Fraud, etc.
                                                                            Is the claim subject to offset?    D No ■ Yes

UEfifW List Others to Be Notified About Unsecured Claims
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may b e listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the               Last 4 digits of
                                                                                                     related creditor (if any) listed?                     account number, if
                                                                                                                                                           any
4.1       Ryan Abbott
          Brown Neri Smith & Khan LLP                                                                Line 3.14
          116018 Wilshire Blvd. #2080
          Los Angeles, CA 90025                                                                      D        Not listed. Explain __

 4.2      Ryan Abbott
          Brown Neri Smith & Khan LLP                                                                Line _bl_
          11601 B Wilshire Blvd. #2080
          Los Angeles, CA 90025                                                                      D        Not listed. Explain



UEfitiW Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.         $                               0.00
 5b. Total claims from Part 2                                                                            5b.     +   $ ----- 6,- 04      - - 0-,5- 39
                                                                                                                                                    - .- 1- 3
                                                                                                                                                            -

 5c. Total of Parts 1 and 2
      Lines 5a + 5b = 5c.                                                                                5c.                                 6,040,539.13




Official Form 206 E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 3
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                                                                    Document     Page 11 of 15
Fill in this information to identify the case:
Debtor name         Three Aminos, LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

Case number (if known)          3:23-bk-02202
                                                                                                                               D Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       D No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       ■  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8: Assets - Real and Personal          Property
(Official Form 206NB).

2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

2.1.         State what the contract or                  Website
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    GoDaddy
             List the contract number of any                                        2150 E. Warner Rd.
                   government contract                                              Tempe, AZ 85284


2.2.         State what the contract or                  Product Sourcing
             lease is for and the nature of              Agreement
             the debtor's interest

                 State the term remaining
                                                                                    Healthy Life Enterprises, Inc.
             List the contract number of any                                        6521 Burnet Lane, Ste. 107
                   government contract                                              Austin, TX 78757


2.3.         State what the contract or                   Real Property Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                    Lee M. Palmer
             List the contract number of any                                        212 Cheekwood Ct.
                   government contract                                              Franklin, TN 37069


2.4.         State what the contract or                  Shipping
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                           ShipBob
                                                                                    120 N. Racine Ave.
             List the contract number of any                                        Ste. 100
                   government contract                                              Chicago, IL 60607




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of2
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                                                                    Document     Page 12 of 15
Debtor 1     Three Aminos, LLC                                                                Case number (it known)   3:23-bk-02202
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

2.5.         State what the contract or                   Payment Processor
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Stripe
             List the contract number of any                                          510 Townsend St.
                   government contract                                                San Francisco, CA 94103




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
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           Case 3:23-bk-02202                         Doc 13           Filed 06/30/23 Entered 06/30/23 13:56:51                Desc Main
                                                                      Document     Page 13 of 15
Fill in this information to identify the case:
Debtor name         Three Aminos, LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

Case number (if known)          3:23-bk-02202
                                                                                                                          D Check if this is an
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Official Form 206H
Schedule H: Your Codebtors                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

     1. Do you have any codebtors?

■ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
□ Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                      Name                       Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                         DD
                                               Street                                                                          D E/F
                                                                                                                               □G
                                               City                     State      Zip Code


   2.2                                                                                                                         DD
                                               Street                                                                          D E/F
                                                                                                                               □G
                                               City                     State      Zip Code


   2.3                                                                                                                         DD
                                               Street                                                                          D E/F
                                                                                                                               □G
                                               City                     State      Zip Code


    2.4                                                                                                                        DD
                                               Street                                                                          D E/F
                                                                                                                               □G
                                               City                     State      Zip Code




Official Form 206H                                                              Schedule H: Your Codebtors                                  Page 1 of 1
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Fill in this information to identify the case:
Debtor name         Three Aminos, LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

Case number (if known)          3:23-bk-02202
                                                                                                                               D Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        ■         Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
        ■         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ■         Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ■         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        □         Schedule H: Codebtors (Official Form 206H)
        D         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        D         Amended Schedule
        □         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        D         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         June 30, 2023                           X Isl Laura Lile
                                                                      Signature of individual signing on behalf of debtor

                                                                      Laura Lile
                                                                      Printed name

                                                                      Authorized Representative
                                                                      Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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